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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF DELAWARE


CAC MARITIME, LTD., et al.,                    :
                                               :
                       Plaintiffs,             :
                                               :
               v.                              :       Civil Action No. 21-202-RGA
                                               :
M/V OCEAN FORCE, IMO 8215613,                  :
et al.,                                        :
                                               :
                       Defendants.             :


                                              ORDER


         Pursuant to the order for interlocutory sale (D.I. 98), and treating the objections filed by

Agent XS SASU (D.I. 99) as an objection to the sale of the vessel pursuant to paragraph 11 of

the order for interlocutory sale,

          IT IS HEREBY ORDERED that Agent XS SASU shall pay to the Marshals Service an

amount determined by the Marshals Service as sufficient to pay the expense of keeping the

vessel for at least 14 days (and failure to do so will result in the waiver of Agent XS SASU’s

objection); and


       IT IS HEREBY ORDERED that a hearing is scheduled for March 1, 2022, at 2:00 p.m. in

Courtroom 6A. Any party who wishes to be heard at the hearing is DIRECTED to file a




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statement of its position and any authorities for that position no later than 48 hours before the

scheduled hearing.

                             22 day of February 2022.
       IT IS SO ORDERED this ___


                                                               /s/ Richard G. Andrews
                                                              ________________________
                                                              United States District Judge




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